              Case 1:22-cr-02056-MKD               ECF No. 3         filed 05/10/22     PageID.4U.S.Page     1 of 1
                                                                                                    FILED IN THE
                                                                                                    DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON




                                               CHARGES AND PENALTIES                           May 10, 2022
                                                                                                    SEAN F. MCAVOY, CLERK


        CASE NAME: _______________________________
                   Tyler Joseph LEINGANG                    1:22-CR-2056-MKD-1
                                                   CASE NO. ______________________

                                                     ✔
                                    1
                TOTAL # OF COUNTS: _______       _________FELONY     _________MISDEMEANOR    _________PETTY OFFENSE




Count            Statute                    Description of Offense                                    Penalty

                                                                            CAG not more than 10 years imprisonment, and/or
         18 U.S.C. §§ 922(g)(1),
  1                                   Felon in Possession of a Firearm      $250,000 fine, up to 3 years of supervised release, and a
         924(a)(2)
                                                                            $100 special penalty assessment.


        18 U.S.C. § 924(d),
        28 U.S.C. § 2461(c)        Forfeiture Allegations
